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        I first met Robert Gieswein at Woodland Park High School in Woodland Park, Colorado.
We had strength and conditioning class together. I remember my first impression of Bobby was
that he was easy going and friendly. Yet it was clear that he had a very strong work ethic and it
showed in his dedication during strength and conditioning. We hit it off well and considered him
a friend.


        Bobby and I didn’t get an opportunity to hang out until after high school but when we
reconnected it was just like old times. We would go camping and hiking often. Bobby had such a
great sense of adventure and such a vibrant love of life and exploration. I’ve always known
Bobby as a loyal friend and a person that someone would be lucky have in their life. I’ve always
known him to be light hearted and Bobby could make the best of any situation. He is very
optimistic. Bobby wants nothing more than to lift up the people around him and make things
better for everyone. I’ve often observed him making an effort to lift up his community as well. If
there was something positive to be done for his friends and loved ones , Bobby would do it. My
friend Bobby was someone that I knew I could always lean on if I needed advice or guidance. He
would always be more than willing to talk about my problems or things that just annoyed me.
Whenever I hear the song “Lean On Me” by Bill Withers, Bobby is the first person that comes to
mind because he treats me with such loyalty and respect. Bobby is someone that I can always
count on. Not only someone that I can count on but someone that his mother and sister can count
on as well. No matter what we were doing, Bobby always made sure that his family was all set
with everything they needed. Whether it was helping with yard work, handyman work around the
house, or just general company, his sister and mom knew he would be there. Bobby has 2
adorable dogs, Aspen and Timmy. Aspen is a big beautiful Husky with blue eyes and lots of
moxie. Timmy is a Jack Russel terrier that runs a hundred miles an hour and a tongue that will
lick you just as fast. At times I could see how difficult it was to care for these two companions
but Bobby never lost his patience. His compassion was evident in everything he did for them.
Bobby’s friends, family, pets, and community feel a hole when he’s not around.
                                                                          Sincerely, Kyle Stephens
